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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA        *
                                 *
     v.                          *
                                 *    CRIMINAL NO. LO-19-0449
 KENNETH WENDELL RAVENELL,       *
                                 *
     Defendant.                  *
                                 *
                                 *
                              *******
               UNITED STATES SENTENCING MEMORANDUM

       The United States, by and through undersigned counsel, hereby respectfully submits this

memorandum in connection with the sentencing of defendant Kenneth W. Ravenell.               For the

reasons stated in more detail below, the government respectfully requests that this Court sentence

this Defendant to eight (8) years or 96 months of incarceration.

       Kenneth Ravenell stands before this Court a convicted money launderer. He abused his

position as a member of the Bar of Maryland to break the law, treating his firm’s escrow account

like a dirty bank for a coast-to-coast drug distribution organization for years and taking drug money

for doing so. As the Chief Justice Burger noted in Application of Griffiths:

       The role of a lawyer as an officer of the court predates the Constitution; it was carried
       over from the English system and became firmly embedded in our tradition. It
       included the obligation of first duty to client. But that duty never was and is not today
       an absolute or unqualified duty. It is a first loyalty to serve the client's interest but
       always within—never outside—the law, thus placing a heavy personal and individual
       responsibility on the lawyer. That this is often unenforceable, that departures from it
       remain undetected, and that judges and bar associations have been singularly tolerant
       of misdeeds of their brethren, renders it no less important to a profession that is
       increasingly crucial to our way of life. The very independence of the lawyer from the
       government on the one hand and client on the other is what makes law a profession,
       something apart from trades and vocations in which obligations of duty and
       conscience play a lesser part. It is as crucial to our system of justice as the
       independence of judges themselves.

413 U.S. 717, 732 (1973) (Burger, C.J., dissenting).         These unique attributes of the legal


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profession—wide latitude to manage one’s practice, especially financial matters relating to clients

and freedom from government oversight in so doing—are the very ones that the Defendant

exploited.

       And the Defendant’s crime could not be more serious. Were it not for the ability to move

drug proceeds from the street to the legitimate economy there would be no incentive to engage in

large scale narcotics trafficking. The Defendant’s history and characteristics, far from being a

mitigating factor, is an aggravating one in determining his sentence. Unlike the defendants that

typically appear before this Court, the Defendant was, by the accounts of the numerous character

witnesses he called in his defense, highly successful, both professionally and financially. And

unlike most cases where the Government isn’t privy to information about the defendant’s character

and background until sentencing, in this case, the many character witnesses the Defendant called

testified at his trial and the Government has factored that information into its sentencing

recommendation. Simply put, what the testimony of those witnesses demonstrate is that the

Defendant lived a double life. In Jekyll and Hyde like fashion, the Defendant presented one version

of himself to his colleagues, and another to his clients like Richard Byrd and Leonaldo Harris. To

the former, he was a zealous and professional attorney. To the latter, he was someone with his

hand constantly out, hoovering up gargantuan sums of drug money and washing them through his

law firm. The Defendant’s crime in this case shows he was also a zealous criminal, who was adept

at covering up and concealing his criminal activity. He deserves to be punished for this and would

deserve to be punished even if he weren’t a lawyer. But in order to show that that rule of law

applies to everyone, even the lawyers, the insiders, a significant sentence is necessary. And a

significant sentence is necessary to deter other lawyers who face the same incentives to break the

law as they represent defendants involved in crimes that generate substantial illicit proceeds.



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   I.      FACTUAL SUMMARY

           A. Richard Byrd Operated a Coast-to-Coast Marijuana Distribution Organization

        Ravenell began representing Richard Byrd in the early 1990s when Byrd was charged with

firearms and narcotics offenses in state court. In 1994, Byrd was charged with murder and Ravenell

represented him at trial. Byrd was acquitted.

        From 2009 to 2014, part of the period charged in the money laundering count, the count of

conviction, Byrd sold thousands of pounds of marijuana generating millions of dollars in cash. The

marijuana was purchased on the West Coast from growers in Sinaloa, Mexico, and then shipped to

the East Coast where it was sold to wholesale distributors who then retailed it, including in Baltimore.

From 2009 to 2014 alone, Byrd shipped 88,000 pounds through a single freight business, Airport Pak

and Ship, from Arizona to Baltimore. Seventy-five percent of that weight was marijuana, or

approximately 66,000 pounds or 30,000 kilograms. Byrd operated this marijuana distribution

operation with Texas attorney James Bowie, Jerome Castle, Josef Byrd, Harold Byrd, Rasan Byrd,

Thurston Lindsay, Kimberly Reid, Richard Drummond and others.

           B. From 2009 through 2014 Ravenell Advised Byrd on Laundering the Proceeds of
              Narcotics Sales, and Starting in 2011 Ravenell Laundered the Money Himself
              through MFM

        From 2009 through 2014, Ravenell gave Byrd advice on how to launder the millions of dollars

of cash that Byrd’s marijuana sales generated. Ravenell advised Byrd to set up businesses that

generated cash themselves and to make investments in real estate projects, which Byrd did, in order

to launder drug proceeds.

        Byrd’s business activities were mainly in entertainment. Byrd organized concerts and other

events where drug proceeds were used to pay expenses, like renting venues, hiring entertainers, and

purchasing food and alcohol for re-sale. Attendees to these events largely paid in cash for their

tickets, which provided a second opportunity to launder money, namely, by mixing cash generated
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by marijuana sales with cash generated by ticket sales. Ravenell and Byrd discussed all aspects of

these events and Byrd’s entertainment-related activities including the use of drug proceeds to fund

the events and the mixing of drug proceeds with ticket sales. From 2009 until 2011, Byrd’s main

vehicle for entertainment business was an entity called DB Entertainment. The “DB” stood for

Deandre Byrd, which was one of Byrd’s aliases.

       In 2011, Byrd was arrested in a reverse-sting operation in Chandler, Arizona. He was video

recorded attempting to buy 500 pounds of marijuana from undercover law enforcement agents. At

the time of his arrest, Byrd had a suitcase with more than $250,000 in cash with him. It was at that

time that Byrd became a formal client of Ravenell and Murphy Falcon & Murphy (MFM), the law

firm where Ravenell was a partner at that time. As a result of this attorney-client relationship, starting

in 2011 and continuing until 2014, in addition to advising Byrd on how to launder money, Ravenell

personally laundered Byrd’s drug proceeds using MFM’s attorney trust account. Ravenell accepted

more than $1.8 million in drug proceeds and funds co-mingled with drug proceeds from entities and

individuals associated with Byrd. Ravenell also directed the payment of more than $1.2 million of

these funds to various projects and third parties to benefit Byrd. Ravenell’s purpose in accepting and

disbursing these funds was to conceal the source of the funds as drug proceeds and promote Byrd’s

on-going marijuana distribution activities. The following summary of the inflows and outflows

credited to the Byrd related ledgers was presented to the jury:




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Government Exhibit 277 (Attachment 1).

       In exchange for Ravenell’s advice and for laundering Byrd’s funds through the MFM attorney

trust account, Byrd paid Ravenell, in cash, using drug proceeds. Byrd personally delivered drug

proceeds, in the form of cash, to Ravenell. With Ravenell’s approval, other members of Byrd’s drug

trafficking organization also delivered cash to Ravenell including Jerome Castle, Josef Byrd, Harold

Byrd and Rasan Byrd.

       Ravenell set up a series of ledgers within MFM, eventually four of them in total, to account

for the money that Ravenell was laundering for Byrd. Those ledgers were the “Byrd Criminal

Matter,” “Byrd Business Ventures,” “Byrd Hotel Matter” and “Overtown Reborn.” The latter three

related to various investments Byrd was making, using drug proceeds, that Ravenell advised and

counseled him on. Thus, while the drug proceeds flowed in and out of a single bank account at MFM,

Ravenell tracked the funds across four Byrd-related ledgers. The following is a summary of the four

Byrd-related ledgers that Ravenell managed at MFM:




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Government Exhibit 22 (Attachment 2). Ravenell was assisted in these activities by at least two staff

members of MFM, Heather Mangus, the firm’s accountant, and Deborah Ness, Ravenell’s legal

assistant.

        Ravenell wired drug proceeds to other law firms, consulting firms and professionals to

advance Byrd’s various investments and conceal the source of the funds. Ravenell advised Byrd to

cycle the drug funds through MFM because, Ravenell believed, these other entities would not have

taken the funds directly from Byrd or his entities because Byrd was a drug trafficker.

        Ravenell accepted these funds and directed their disbursement while Byrd and members of

his drug trafficking organization were arrested and various assets were seized. One month after

Byrd’s February 2011 arrest in Chandler, Arizona, law enforcement seized approximately $750,000

from a house where Byrd was staying. In April 2013, law enforcement conducted coordinated

searches and arrests in both Arizona and Baltimore. Thurston Lindsay was arrested transporting a

large quantity of marijuana in Arizona and a significant quantity of marijuana was seized at Airport

Pak and Ship. Law enforcement also arrested Jerome Castle, Josef Byrd and Harold Byrd in

Baltimore and seized several hundred pounds of marijuana and cash from them.



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           C. All Monies Associated with Byrd were Funneled Through Third Parties at
              Ravenell’s Direction

       On Ravenell’s instructions and in order to conceal the source of the funds, none of the monies

that were deposited in the MFM attorney trust account that was associated with Byrd actually came

from Byrd himself. Instead, Byrd gave drug proceeds, in the form of cash, to third parties or entities

that Byrd partially controlled, who then provided the funds to MFM. Ravenell personally approved

these third-parties and would only take funds from individuals and entities that he had authorized

Byrd to use. This practice resulted in the creation of multiple layers, including both individuals and

corporate entities, between the source of Byrd’s funds, narcotics sales, and the ultimate recipients of

the funds, including other law firms, professionals and various investment opportunities.

       For example, Byrd gave drug proceeds, in cash, to a lawyer in Houston, Texas, named David

Levine who then deposited the cash into accounts associated with two business entities he controlled,

Repo Productions and Ares Industrial LLC. Levine then wired the funds on to MFM. These wires

totaled approximately $155,000. The jury was shown the ledger from MFM recording these

incoming wires:




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Government Exhibit 14 (Attachment 3). By doing so, Byrd created two layers using two different

corporate entities between himself and the source of his funds, drug sales, and MFM.

        Byrd also provided drug proceeds to his sister, Andrea King Chang, who then wired funds to

MFM from her business account, Chang Jewelry, to MFM. This created two layers, including a

corporation, between the source of funds, Byrd’s narcotics sales, and MFM.

        Jerome Castle, a co-conspirator of Byrd’s, provided drug proceeds to Jamila Lyn, a woman

who had a child with Byrd. The drug proceeds were then moved to MFM by way of an American

Express credit card in the name of Alana Lowe, Jamila Lyn’s mother. Ravenell personally directed

MFM to accept payments from this credit card:




Government Exhibit 81 (Attachment 4). Subsequently, Ravenell made approximately $260,000 in

charges on the card. The following summary of Ravenell’s use of the Lowe credit card was presented

to the jury at trial:


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Government Exhibit 246 (Attachment 5).

       The Lowe credit card, controlled by Lyn, was also used to generate funds to pay criminal

defense attorneys to represent Byrd’s brothers, Harold and Josef, after they were arrested in Spring

2013. In order to conceal that Byrd was the source of the funds, Ravenell directed the creation of a

fake ledger at MFM that made it appear that the money for Josef and Harold Byrd’s defense had

come from Rupert Castle, Jerome Castle’s father. Ravenell then directed that checks to the defense

attorneys for Harold and Josef Byrd then falsely identify Rupert Castle as the source of the funds.

The jury was shown the following email at trial:




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Government Exhibit 87 (Attachment 6). None of these funds actually came from Rupert Castle and

Rupert Castle was never a client of MFM.

           D. At Ravenell’s Direction, Byrd Acquired an Interest in LOC Marketing and Used
              it to Move Drug Proceeds to MFM

       At Ravenell’s direction, in 2011, Byrd acquired an interest in a new, entertainment-related

business called LOC Marketing. Significant sums of money moved from that entity to MFM. As

with his earlier entertainment-related business, DB Entertainment, Byrd funded events put on by

LOC Marketing with drug proceeds and mixed cash generated by drug sales with cash generated at

LOC Marketing events. Approximately $646,000 was received from LOC Marketing and deposited

at Ravenell’s direction in the MFM attorney trust account from 2011 to 2014. Kim Reid and Lamont

Wanzer were responsible for depositing cash into LOC Marketing’s various accounts and wiring it

to MFM. Ravenell had direct contact with both Reid and Wanzer. The cash that Reid and Wanzer

moved through LOC Marketing to MFM came from marijuana sales.

       It is impossible to determine precisely what funds were derived from ticket sales or other

legitimate sources and what funds were drug proceeds. Byrd testified during the trial that each of the

payments made to MFM that originated from LOC included cash drug proceeds that were mixed in

with revenues from the events that had been funded with drug monies.

           E. Ravenell Accepted Drug Proceeds in Order to Assist Byrd in Securing the Right
              to Bid on the Overtown Reborn Development Project

       In Fall 2012, Byrd attempted to invest drug proceeds in a development project near Miami,

Florida, called Overtown Reborn. Byrd, acting through an intermediary, won the right to bid on this

project by demonstrating that he had $200,000 in funds in escrow that could be used on the project.

Ravenell was instrumental in Byrd winning the right to bid on this project. Ravenell directed that

$90,000 in drug proceeds be transferred from the Byrd Hotel Matter Ledger to the Byrd Overtown

Reborn ledger. Ravenell then accepted an incoming wire of $110,000 from LOC Marketing,

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consisting of drug proceeds co-mingled with funds derived from other sources. Ravenell then

provided an account statement from MFM showing that $200,000 was in escrow at MFM to the entity

organizing the project.




Government Exhibit 252 (Attachment 7).

       The following summary of the transaction was presented to the jury at trial:




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Government Exhibit 276 (Attachment 8).

           F. The Use of Offshore Accounts

       Offshore accounts were also used to funnel money through MFM. In August 2013, Byrd had

drug money delivered to an attorney in Jamaica named Stacey Allen. Ravenell advised Byrd that

funds that flowed through foreign law firms would draw less scrutiny than funds that came from

other sources. Allen in turn provided approximately $99,000 to a real estate agent in New York

named Owen Robinson. Robinson, in turn, provided $90,000 of those funds to a Ugandan diplomat

at the United Nations, Patrick Okullo, with whom he had a professional relationship. Robinson had

obtained housing for the Uganda Mission to the UN in the past. Robinson asked Okullo to wire the

$90,000 to Ravenell, falsely telling Okullo that the money was needed for a real estate transaction

with Robinson. Okullo did as Robinson asked. Ravenell personally accepted receipt of the $90,000

from Okullo, someone whom he had no attorney-client relationship with and had never met. The

following email was shown to the jury at trial




Government Exhibit 100 (Attachment 9). Ravenell then personally directed that the $90,000 be


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wired to Jamila Lyn, to pay off monies that Lyn had advanced to MFM for Byrd using Lyn’s mother’s

American Express Card.

       In sum, drug proceeds, in cash, were transported from the United States to Jamaica, those

funds were then deposited in the bank account of a Jamaican law firm which in turn wired them to a

U.S. based real estate broker who converted them into a cashier’s check which was given to a

Ugandan diplomat who then wired the funds to MFM which were then wired out to the mother of

one of Byrd’s children to repay her for money she had advanced to MFM on Byrd’s behalf. The

following summary of this transaction was presented to the jury at trial:




Government Exhibit 276 (Attachment 8).

       A second transaction involving offshore accounts occurred in January 2014. In January 2014,

Jamila Lyn also wired $15,000 from her mother’s Jamaican bank account to MFM. This occurred

after Lyn had been given drug proceeds by Jerome Castle in 2013.

           G. Ravenell Concealed the Source of Byrd’s Funds Even Within MFM

       Ravenell took steps to conceal the source of incoming funds related to Byrd even from MFM.

In September 2012, he instructed MFM’s top accountant, Heather Mangus, to white out the source

of three inbound wires totaling $122,600, on one of the Byrd-related internal ledgers, the Byrd Hotel

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Project Matter. The jury was shown the following email exchange between Ravenell and Mangus at

trial:




Government Exhibit 270 (Attachment 10).

            H. Ravenell Created False Business Records for LOC Marketing In Order to
               Obstruct Justice

         Ravenell also worked with Byrd to create false records for LOC Marketing in an attempt to

conceal the fact that drug proceeds were used to fund events and were then co-mingled with any

revenue the events generated. This was done with an intent to obstruct justice and thwart an

investigation into Byrd and LOC Marketing’s activities, and, by extension, Ravenell’s money

laundering for Byrd.

         These efforts increased after LOC Marketing received a federal grand jury subpoena in 2014.

Ravenell even went so far as to hire other lawyers and an accountant in an attempt to legitimize LOC

Marketing’s activities and try to tie cash drug deposits to events. These efforts were unsuccessful.




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           I. Ravenell Solicited Byrd to Invest Drug Money in a Restaurant that Would Then
              Launder Byrd’s Drug Proceeds

       Ravenell also solicited Byrd to invest drug money in a restaurant called Judy’s Island Grill II

in April 2013. The restaurant was owned and operated by Freka Scott, a woman who Ravenell

provided financial support to and with whom he was in a long-term romantic relationship. The

purpose of this investment would be to create another vehicle through which Byrd could launder drug

money. Ravenell proposed that Byrd invest $150,000 in the restaurant. Ultimately, Byrd decided

not to invest but Ravenell told Byrd that Ravenell would invest in the restaurant himself, which he

did, using cash drug proceeds that Byrd had given Ravenell. Ravenell also directed Byrd to provide

funds to Freka Scott through his sister, Andrea King Chang, who wrote a $9,000 check to Freka Scott

after receiving cash drug proceeds from Byrd deposited in her bank account. The reason that

Ravenell directed Byrd to provide funds to Scott through Byrd’s sister was to conceal the fact that

Byrd was the source of the funds.

           J. Ravenell Directed Another Client to Convert Drug Proceeds into Money Orders
              In Order to Conceal their Source

       In June 2013, Ravenell began representing Leonaldo Harris, who had been charged with

federal narcotics offenses. Harris was not a member of the Byrd drug trafficking organization. Harris

paid Ravenell more than $350,000 in drug proceeds through an associate of Harris’s, Avarietta

Bailey. Bailey discussed with Ravenell that she was collecting drug proceeds from customers of

Harris in order to pay Ravenell. Ravenell instructed Bailey to convert the drug proceeds into money

orders and other instruments to conceal the source of the funds.

       After Ravenell withdrew from his case, Harris learned that Ravenell had only credited

$187,000 to Harris’s case at MFM, not the more than $350,000 that Harris had paid him.




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            K. Ravenell Offered to Launder Drug Funds for Darnell Miller in Exchange for
               $250,000 to $300,000

         In 2014, prior to his arrest, Byrd began discussing entering into a criminal partnership with

Darnell Miller. Eventually, Miller met directly with Ravenell. The two discussed connecting

Miller’s source of marijuana supply with Byrd’s distribution network with Ravenell acting as an

intermediary between the two and collecting his, Ravenell’s and Byrd’s profits from the operation.

During this meeting, Ravenell also offered to launder Miller’s drug proceeds, like he had done for

Byrd, for a fee of $250,000 to $300,000. Before Miller could act on Ravenell’s offer, he learned that

MFM had been searched by law enforcement, in August 2014, and thereafter decided to have no

further contact with Ravenell.

   II.      SENTENCING ARGUMENT

         Although the Supreme Court rendered the federal Sentencing Guidelines advisory in United

States v. Booker, 543 U.S. 220 (2005), “a sentencing court is still required to ‘consult [the]

Guidelines and take them into account when sentencing.’” United States v. Clark, 434 F.3d 684,

685 (4th Cir. 2006) (quoting Booker, 543 U.S. at 264). The Supreme Court has directed district

courts to “begin all sentencing proceedings by correctly calculating the applicable Guidelines

range.” Gall v. United States, 552 U.S. 38, 49 (2007). In Gall, the Supreme Court instructed that

the sentencing court should calculate the sentencing guideline range, permit the government and

the defendant “an opportunity to argue for whatever sentence they deem appropriate,” consider all

of the § 3553(a) factors, and finally pronounce a sentence taking into account all of the relevant

factors. Id. at 596-97. The Gall Court further instructed that, in the event that the sentencing court

decides to impose a variance sentence, the court “must consider the extent of the deviation and

ensure that the justification is sufficiently compelling to support the degree of the variance.” Id.

(noting that a “major departure should be supported by a more significant justification than a minor


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one.”).    Ultimately, the sentence imposed must meet a standard of reasonableness. See Booker,

543 U.S. at 260-61.

           A. Guidelines Range

          The United States agrees with the United States Probation Office’s calculation of the

Sentencing Guidelines set forth in the final Pre-Sentence Report (PSR). ECF 537.            The PSR

correctly calculates the total offense level of 43. PSR ¶80. Because, pursuant to USSG §

5G1.1(a), the statutorily authorized maximum sentence of 10 years is less than the minimum of

the applicable guideline range, the advisory guidelines term of imprisonment is 120 months.

                             1. Base Offense Level

          The Defendant’s base offense level is eight (8) pursuant to U.S.S.G. § 2S1.1(a)(2).

          The base offense level is increased by 16 levels pursuant to U.S.S.G. § 2B1.1(b)(1)(i) because

the amount of laundered funds is greater than $1.5 million and less than $3.5 million. Application

Note 3(B) provides

          Commingled Funds.—In a case in which a transaction, financial transaction,
          monetary transaction, transportation, transfer, or transmission results in the
          commingling of legitimately derived funds with criminally derived funds, the value
          of the laundered funds, for purposes of subsection (a)(2), is the amount of the
          criminally derived funds, not the total amount of the commingled funds, if the
          defendant provides sufficient information to determine the amount of criminally
          derived funds without unduly complicating or prolonging the sentencing process. If
          the amount of the criminally derived funds is difficult or impracticable to determine,
          the value of the laundered funds, for purposes of subsection (a)(2), is the total amount
          of the commingled funds.

          The evidence at trial showed that approximately $1.8 million was deposited into the MFM

attorney trust account and credited to the four ledgers associated with Richard Byrd. Byrd testified

that all of the funds deposited at MFM associated with him came from third parties to whom he had

given drug proceeds in cash. Specifically, the evidence established that the Defendant received drug

proceeds into the MFM attorney escrow account from LOC Marketing, see, e.g., Trial Transcript

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Vol. III at 135:19-137:19 and 143:7-145:18, James Bowie, id. at 151:21-152:13, two entities, Ares

and Repo Productions, both of whom were associated with an attorney in Houston, Texas, David

Levine, id. at 153:5-154:14, Andrea King Chang, id. at 166:3-14, Stacey Allen, Owen Robinson and

Patrik Okullo, id. at 205:21-209:21. As to funds from LOC Marketing, Byrd testified he used drug

proceeds to fund his entertainment businesses and mixed drug proceeds into any revenue they

generated. Id. at 87:3-89:5. On cross, Byrd testified that LOC Marketing was “never a legitimate

business” because while it “did real events” and “made real money,” drug proceeds were always

added to it. Id. at Vol. IV at 77:13-78:1. As to the funds from the other third-parties, the evidence

in the record is that all of those funds came from marijuana sales.

       Even if, assuming arguendo, some of those third parties could have co-mingled the drug

proceeds Byrd provided to them with funds derived from legitimate sources (there was no record

evidence of that claim), the full amount of the deposits into MFM, $1.8 million, should be used to

calculate the applicable guidelines because pursuant to Section 2S1.1 Application Note 3(B) “the

amount of the criminally derived funds is difficult or impracticable to determine.” Indeed, the

evidence at trial established that Ravenell instructed Byrd to wash and launder his money through

various bank accounts of entities, like LOC Marketing, to make it appear to be legitimate and difficult

to trace the source.

       Further, the Defendant has not “provide[] sufficient information to determine the amount of

criminally derived funds without unduly complicating or prolonging the sentencing process,” such

that only the amount of criminal derived funds should be considered. Id.

       Ravenell also received $350,000 in drug proceeds from Avarietta Bailey. Trial Transcript

Vol. IX at 171:11-181:9 (testimony of Leonaldo Harris). Specifically, Harris testified that, “All the

monies paid by Ms. Bailey came from drug proceeds.” Id. at 181:8-9.

       Thus, the Defendant’s total base offense level is 24. See PSR ¶ 40.

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                          2. Specific Offense Characteristics

                                 a. Laundered funds involved drug proceeds

       The Defendant's advisory guideline calculation should be increased by six (6) levels

 because “the defendant knew or believed that any of the laundered funds were the proceeds of, or

 were intended to promote (i) an offense involving the manufacture, importation, or distribution of

 a controlled substance,” pursuant to U.S.S.G. § 2S1.1(b)(1). See PSR ¶ 41.

       The evidence at trial established that the Defendant knew or believed that the laundered

 funds were drug proceeds.

                                 b. The Defendant was in the business of laundering funds

       The Defendant's advisory guideline calculation should be increased by four (4) levels because

four (4) levels pursuant to U.S.S.G. § 2S1.1(b)(2)(C) because the Defendant was in the business of

laundering funds. See PSR ¶ 42. Application Note 4 to § 2S1.1 provides that:

       (A)     In General.—The court shall consider the totality of the circumstances to
       determine whether a defendant who did not commit the underlying offense was in the
       business of laundering funds, for purposes of subsection (b)(2)(C).
       (B) Factors to Consider.—The following is a non-exhaustive list of factors that may
       indicate the defendant was in the business of laundering funds for purposes of
       subsection (b)(2)(C):
               (i) The defendant regularly engaged in laundering funds.
               (ii) The defendant engaged in laundering funds during an extended period of
               time.
               (iii) The defendant engaged in laundering funds from multiple sources.
               (iv) The defendant generated a substantial amount of revenue in return for
               laundering funds.

The evidence at trial showed that the Defendant laundered Byrd’s funds during an extended period

of time, namely, from 2009 until 2014. See, e.g., Government Exhibits 14, (Byrd Criminal Matter

Ledger); 16 (Byrd Business Ventures Ledger); 18 (Byrd Hotel Matter Ledger); and 20 (Byrd

Overtown Reborn Matter Ledge), produced as Attachments 3, 11, 12, and 13, respectively. The

evidence at trial also showed that that he laundered funds from Bailey from 2013 and 2014. See e.g.,


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Trial Transcript Vol. IX at 171:11-181:9 (testimony of Leonaldo Harris) and 236:22-241:16

(testimony of Avarietta Bailey).

       As summarized above, the evidence at trial also established that the Defendant laundered

funds from multiple sources.

       Byrd also testified that he gave Ravenell substantial sums of cash in exchange for Ravenell

laundering funds for him. See e.g., Trial Transcript Vol. III at 82:5-83:4; 87:25-89:5.

                                   c. The offense involved sophisticated laundering

       The Defendant’s advisory guideline calculation should be increased by two (2) levels because

the offense involved “sophisticated laundering” pursuant to U.S.S.G. § 2S1.1(b)(3). See PSR ¶ 43.

Application Note 5 to § 2S1.1 provides:

       (A) Sophisticated Laundering under Subsection (b)(3).—For purposes of subsection
       (b)(3), "sophisticated laundering" means complex or intricate offense conduct
       pertaining to the execution or concealment of the 18 U.S.C. § 1956 offense.
       Sophisticated laundering typically involves the use of–
       (i) fictitious entities;
       (ii) shell corporations;
       (iii) two or more levels (i.e., layering) of transactions, transportation, transfers, or
       transmissions, involving criminally derived funds that were intended to appear
       legitimate; or
       (iv) offshore financial accounts.

       The offense involved sophisticated laundering because the laundering involved “two or more

levels (i.e. layering) of transactions, transportation, transfers, or transmissions involving criminally

derived funds that were intended to appear legitimate.” As summarized above, the evidence at trial

showed that Byrd gave drug proceeds, in cash, to:

   •   various individuals associated with LOC Marketing who then deposited those monies into

       bank accounts associated with LOC Marketing from which they were then wired to MFM,

       see, e.g., Trial Transcript Vol. III at 135:19-137:19; thus, there were at least two layers

       between the drug proceeds—the individuals to whom Byrd gave the cash and the LOC


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       marketing accounts—and the MFM escrow account;

   •   Andrea King Chang, who then transferred the funds to MFM from her business account,

       which meant that these funds were layered through two levels, id. at 166:3-14; and

   •   David Levine, a lawyer in Houston, who then transferred the money to MFM through two

       corporate entities he controlled, Ares Industrial and Repo Productions, which is another

       example of layering through two levels, id. at 153:5-154:14.

       The most highly layered transaction was the Okullo transaction in which the evidence at trial

established that Byrd provided drug money to an individual in Jamaica, who then provided it to an

attorney in Jamaica, Stacey Allen, who then provided it to a real estate agent in New York Owen

Robinson, who then provided it to a Ugandan diplomat at the United Nations who ultimately provided

the funds to MFM. Id. at 205:21-209:21. The Okullo transaction also involved “offshore financial

accounts,” because the money came from Allen’s account in Jamaica.

       Finally, Byrd testified that he discussed all the various individuals and entities that would be

used to layer these transactions with Ravenell and that Ravenell had to approve them before he would

accept their funds into the MFM escrow account. Id. at 138:3-6.

                          3. Adjustments

                                  a. The Defendant Was The Organizer and Leader of the
                                     Conspiracy Involving Five or More Participants that Was
                                     Otherwise Extensive

        The PSR also correctly applies a four-level enhancement pursuant to § 3B1.1 because

 Ravenell led and organized the money laundering conspiracy, which involved five or more people

 and was otherwise extensive. See PSR ¶ 45. First, the money laundering conspiracy in this case

 involved at least five participants. “A ‘participant’ is a person who is criminally responsible for

 the commission of the offense, but need not have been convicted.” § 3B1.1 note 1. As shown at

 trial, the money laundering conspiracy involved, at a minimum, Richard Byrd, Jerome Castle,
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 Josef Byrd, Harold Byrd, Avarietta Bailey, Leonaldo Harris and Darnell Miller. While Byrd was

 the leader or organizer of the drug trafficking organization, he acted on Ravenell’s advice to

 launder proceeds from that operation, including through LOC Marketing. And beginning in 2011

 and continuing until 2014, Ravenell himself laundered Byrd’s drug proceeds through the MFM

 attorney trust account. Even if Byrd is considered also to have led and organized the money

 laundering conspiracy, Application Note 4 recognizes that, “[t]here can, of course, be more than

 one person who qualifies as a leader or organizer of a criminal association or conspiracy.” The

 Application Note further counsels that:

       In distinguishing a leadership and organizational role from one of mere management
       or supervision, titles such as "kingpin" or "boss" are not controlling. Factors the court
       should consider include the exercise of decision making authority, the nature of
       participation in the commission of the offense, the recruitment of accomplices, the
       claimed right to a larger share of the fruits of the crime, the degree of participation in
       planning or organizing the offense, the nature and scope of the illegal activity, and the
       degree of control and authority exercised over others.

Ravenell exercised total control over whether funds were accepted into and then wired out of MFM.

See, e.g., Trial Transcript Vol. VI at 287:1-8; 287:18-288:7 (testimony of Heather Mangus). Byrd

exercised no such control.

       Section 3B1.1 Application Note 2 provides:

       To qualify for an adjustment under this section, the defendant must have been the
       organizer, leader, manager, or supervisor of one or more other participants. An
       upward departure may be warranted, however, in the case of a defendant who did not
       organize, lead, manage, or supervise another participant, but who nevertheless
       exercised management responsibility over the property, assets, or activities of a
       criminal organization.

Even assuming arguendo that Ravenell did not “lead, manage, or supervise another participant,”

an upward departure is nonetheless warranted because Ravenell “exercised management

responsibility over the property, assets, or activities of” Byrd’s drug trafficking organization.

                                       b. The Defendant abused a position of trust


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       The Defendant’s advisory guideline calculation should be increased by two (2) levels because

the Defendant abused a position of trust or used a special skill, pursuant to U.S.S.G. § 3B1.3. See

PSR ¶ 46. An abuse of position of trust enhancement is appropriate if the defendant abused a position

of public trust in order to conceal the offense. United States v. Agyekum, 846 F.3d 744 (4th Cir.

2017). By using MFM’s attorney escrow account as a mechanism to launder drug proceeds, the

Defendant abused the public trust afforded lawyers as professionals and officers of the court. The

“[c]entral purpose” of the sentencing enhancement is to penalize defendants who take advantage of

[a] position that provides them with freedom to commit a difficult-to-detect wrong.” Id. U.S.S.G. §

3B1.3. That is precisely what occurred here. Section 3B1.3 Application Note 1 provides that:

       “Public or private trust” refers to a position of public or private trust characterized by
       professional or managerial discretion (i.e., substantial discretionary judgment that is
       ordinarily given considerable deference). Persons holding such positions ordinarily
       are subject to significantly less supervision than employees whose responsibilities are
       primarily non-discretionary in nature. For this adjustment to apply, the position of
       public or private trust must have contributed in some significant way to facilitating
       the commission or concealment of the offense (e.g., by making the detection of the
       offense or the defendant's responsibility for the offense more difficult). This
       adjustment, for example, applies in the case of an embezzlement of a client's funds by
       an attorney serving as a guardian, a bank executive’s fraudulent loan scheme, or the
       criminal sexual abuse of a patient by a physician under the guise of an
       examination. This adjustment does not apply in the case of an embezzlement or theft
       by an ordinary bank teller or hotel clerk because such positions are not characterized
       by the above-described factors.

       As an attorney, Ravenell occupied a “position of public or private trust characterized by

professional or managerial discretion (i.e., substantial discretionary judgment that is ordinarily given

considerable deference).” Attorneys are “subject to significantly less supervision than employees

whose responsibilities are primarily non-discretionary in nature.” Id. As a partner in the MFM firm,

Ravenell was able to move money through the MFM attorney trust account at his own discretion and

without having to obtain permission from any other member of the firm. See, e.g., Trial Transcript

Vol. VI at 287:1-8; 287:18-288:7 (testimony of Heather Mangus). Ravenell’s status as an attorney


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and a partner at MFM “contributed in [a] significant way to facilitating the commission or

concealment of the offense.” Section 3B1.3 Application Note 1. Indeed, if he had not been a partner

at MFM he would not have been able to launder Byrd’s money through the firm’s attorney trust

account. The Application Note specifically recognizes that, “[t]his adjustment, for example, applies

in the case of an embezzlement of a client's funds by an attorney serving as a guardian …” Id. Here,

Ravenell did not embezzle Byrd’s funds but, instead, abused his special access the MFM escrow

account to launder drug proceeds from multiple sources.

        Further, abuse of trust is not the only mechanism by which the two level enhancement applies.

Ravenell also used a “special skill” in a manner that significantly facilitated the commission or

concealment of the offense. U.S.S.G. §3B1.3. Section 3B1.3 provides that the district court should

increase the offense level by two if “the defendant ... used a special skill, in a manner that significantly

facilitated the commission or concealment of the offense.” U.S.S.G. § 3B1.3. “Special skill” refers

to a skill not possessed by members of the general public and usually requiring substantial education,

training or licensing. Examples would include pilots, lawyers, doctors, accountants, chemists, and

demolition experts.” Id. § 3B1.3 cmt. 2 (emphasis added). As an attorney with years of experience

in criminal defense (particularly representing drug defendants), Ravenell was able to exploit the wide

latitude that attorneys are afforded in managing their own financial affairs and the financial affairs

of their clients. Using an attorney escrow account in the manner in which Ravenell used it is not a

“skill” known by or possessed by members of the public.

                                        c. The Defendant obstructed justice

        The Defendant’s advisory guideline calculation should be increased by two (2) levels because

Ravenell obstructed justice pursuant to U.S.S.G. § 3C1.1. See PSR ¶ 47. Section 3C1.1. Application

Note 1 provides that:

        This adjustment applies if the defendant's obstructive conduct (A) occurred with
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       respect to the investigation, prosecution, or sentencing of the defendant's instant
       offense of conviction, and (B) related to (i) the defendant's offense of conviction and
       any relevant conduct; or (ii) an otherwise closely related case, such as that of a co-
       defendant.

       Obstructive conduct that occurred prior to the start of the investigation of the instant
       offense of conviction may be covered by this guideline if the conduct was
       purposefully calculated, and likely, to thwart the investigation or prosecution of the
       offense of conviction.

Specifically, the evidence at trial showed that Ravenell created false and fictitious accounting and

other business records for LOC Marketing in order to thwart an investigation of Byrd and, by

extension, Ravenell himself. Trial Transcript Vol. III at 211:9-212:21. This occurred even after

Ravenell became aware that a federal grand jury subpoena had been served on LOC Marketing.

        B. Section 3553(a) Factors

       Pursuant to the factors set forth in 18 U.S.C. § 3553(a), the government recommends that

this Court impose a substantial sentence of imprisonment within the advisory guideline range.

               1. Nature and Circumstances of the Offense.

       The nature and circumstances of Ravenell’s crimes call for a substantial term of

imprisonment. Drug offenses and money-laundering offenses are crimes which “invade distinct

societal interests; the distribution of illegal drugs affects the drug user and the community by

increasing lawlessness and violence and money laundering disperses capital from lawfully

operating economic institutions to criminals in and out of the country.” United States v. Gallo, 927

F.2d 815, 824 (5th Cir.1991). The Defendant’s crime enabled a large-scale drug trafficking

organization to continue to spread drugs throughout our communities, and his conduct seriously

threatened the public health and safety of citizens throughout this district. Indeed, illicit drug

trafficking is the cause of much attendant violence in Baltimore, and the drug organization members

he protected were known to possess firearms (as is evidence by the assault weapon recovered that

belonged to Jerome Castle which defense counsel questioned him about at trial).
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           Criminal defense work pursuant to the ethical rules of professional responsibility is a bedrock

of our system of justice. The Defendant hid behind his role as a criminal defense attorney in order

to enrich himself by laundering money for drug trafficking clients. While financial institutions are

subject to a sophisticated web of regulations meant to detect and deter money laundering, lawyers

are afforded wide latitude to manage their own financial affairs and the financial affairs of their

clients.

            This Court should hold Ravenell to a higher standard than a non-lawyer regarding his

 financial affairs with clients and with the government. He has done irreparable harm to the

 reputation of the legal profession. Instead of upholding the rule of law, he betrayed the criminal

 justice system and he continues to try to hide behind it, claiming he was acting as an ethical lawyer.

 His conduct, however, showed a clear disrespect for the law during a time when he was

 representing himself as an officer of the court in numerous cases over a period of years.

                  2. History and Characteristics of the Defendant

           The government has taken into consideration Ravenell’s lack of criminal history. Further,

unlike in other cases where a defendant pleads guilty and the Government first learns details of their

background and character at the sentencing hearing, here the Defendant called character witnesses in

his defense in trial. Thus, the Government’s recommendation takes the information provided by

those witnesses, which undoubtedly will be repeated in some form during the sentencing hearing,

into account. To be clear, the Defendant called a number of noteworthy character witnesses at trial.

But what they demonstrate more than anything is the compartmentalized nature of the Defendant’s

professional life, a successful criminal strategy that allowed him to conceal his criminal activity for

years. He was both a lawyer and a criminal at the same time. He not only zealously advocated for

his clients, which all the character witnesses noted, but he also committed crimes with his clients and

he did that for the same reasons they did—greed.

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       The Defendant’s background, education and professional success are both mitigating and

aggravating factors. They are mitigating, as the Defendant will no doubt argue, because they show

that he has made positive contributions to society. They are aggravating because the Defendant was

highly successful and thus didn’t need to commit crimes to enrich himself. In that regard he is unlike

many of the defendants who appear before this court and indeed that he used to represent. While

poverty and a lack of education and opportunity are not excuses for criminal behavior, they

undoubtedly explain it in many circumstances. But they don’t here. The only thing that explains the

Defendant’s conduct is a lack of integrity and a mistaken belief that he was above the law. It is also

worth noting that the Defendant’s conduct was not a single episode of bad judgment but hundreds of

transactions that occurred over the course of at least five years.

               3. The Sentence Must Promote General Deterrence.

       A significant sentence is also called for in this case to promote general deterrence. Absent

a meaningful term of imprisonment, general deterrence —“the effort to discourage similar

wrongdoing by others through a reminder that the law’s warnings are real and that the grim

consequence of imprisonment is likely to follow”—will not be achieved. United States v.

Bergman, 416 F. Supp. 496, 499 (S.D.N.Y. 1976).

       Intentional, calculated conduct like the conspiracy led by Ravenell calls for a significant

term of incarceration to deter others from making similar decisions. See United States v. Shortt, 485

F.3d 243, 251-52 (4th Cir. 2007) (“As a practical matter, extensive efforts to conceal demand greater

punishment, because they make it less likely that authorities will detect the scheme.”); see also

United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (finding that crimes that are “rational,

cool, and calculated” rather than “crimes of passion or opportunity” are “prime candidates for

general deterrence”) (citation omitted). See also United States v. Anderson, 517 F.3d 953, 966 (7th

Cir. 2008) (affirming sentence where the “judge stressed the corrosive effect that corruption has on
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the public trust and expressed his belief that the scandals will not end unless they are treated

‘appropriately hard’ ”).

       Moreover, the professional latitude afforded to attorneys made the Defendant’s crimes

possible and more difficult to unravel, and he is thereby deserving of greater punishment than a

money launderer in a different context. See, e.g., United States v. Hefferman, 43 F.3d 1144, 1149

(7th Cir. 1994) (“Considerations of (general) deterrence argue for punishing more heavily those

offenses that either are lucrative or are difficult to detect and punish, since both attributes go to

increase the expected benefits of a crime and hence the punishment required to deter it.”); see also

United States v. Morgan, 635 F. App’x 423, 450 (10th Cir. 2015) (“General deterrence comes from

a probability of conviction and significant consequences. If either is eliminated or minimized, the

deterrent effect is proportionately minimized.”). A lenient sentence against the Defendant would

only serve to embolden other corrupt attorneys who commit crimes with their clients and can hide

behind the protections and privileges afforded to ethical and law-abiding lawyers.

                            4. The Sentence Should Promote Respect for the Rule of Law.

         The Defendant’s crimes doubly offend the rule of law. On the one hand, our free market

 economy depends on the integrity of the individuals who operate within it. The Government

 cannot police every transaction that touches the financial system to ensure it is not connected to

 crime. Therefore, when money laundering is detected, it should be severely punished. Further,

 as described above, the legal profession affords attorneys wide latitude to manage their own

 financial affairs and their client’s financial affairs with little of the oversight that other professions

 are subjected to. That is unlikely to change. Therefore, when an attorney is found to be abusing

 the significant professional freedom afforded to them in order to commit crimes, the law should

 severely punish them.



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         C. Forfeiture / Criminal Fine

        Finally, the government is seeking a forfeiture order in the amount of money laundered and

a fine within the guideline range. The government will provide a proposed forfeiture order at

sentencing. Under the advisory Guidelines, a court may impose a fine “in all cases, except where

the defendant establishes that he is unable to pay and is not likely to become able to pay any fine.”

U.S.S.G. § 5E1.2(a). The district court must consult the Guidelines' recommendation, the §3553(a)

factors, and the 18 U.S.C. § 3572(a) factors to determine the appropriateness of the imposition of a

fine and its amount. Here, as the PSR notes, the Defendant is able to pay a fine and the court should

impose one. The fine suggested here is hugely variant; but large enough to be punitive –punishment

is, after all, one of the goals of sentencing.

    III. CONCLUSION

         Based on the foregoing, the government respectfully recommends that the Court impose a

 sentence of eight (8) years incarceration and a significant fine and order forfeiture.



                                        Respectfully submitted,

                                        Philip Selden
                                        Attorney for the United States
                                        Acting Under Authority Conferred by 28 U.S.C. § 515

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                         CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing was served on counsel of record via CM/ECF.

                                     ____________/s/____________
                                     Zachary H. Ray
                                     Assistant United States Attorneys




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